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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                                  )
DISPLAY TECHNOLOGIES, LLC                         )
                                                  )
Plaintiff,                                        )
                                                  )
                       v.                         ) C.A. No. 2:23-cv-00591
                                                  )
SIRIUS XM RADIO INC.,                             ) JURY TRIAL DEMANDED
                                                  )
Defendant.                                        )
                                                  )

                  NOTICE OF JOINT LETTER REGARDING MOTION TO
                           DISMISS UNDER 35 U.S.C. § 101

     Pursuant to the Court’s Standing Order Regarding Motions Under 35 U.S.C. § 101 and

Accompanying Certifications in Cases Assigned to United States District Judge Rodney Gilstrap, the

parties in the above-captioned action hereby respectfully submit the joint letter, attached hereto.
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Dated: March 14, 2024                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic service

are being served this 14th day of March 2024, with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3).


                                                            /s/ Melissa R. Smith
